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                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION
______________________________________
                                        )
UNITED STATES SECURITIES                )
AND EXCHANGE COMMISSION,                )
                                        )  Civil Action No. 1:14-cv-03900
                  Plaintiff,            )
          v.                            )
                                        )  Hon. Rebecca R. Pallmeyer
NEAL V. GOYAL, CALDERA                  )
ADVISORS, LLC, and BLUE HORIZON )
ASSET MANAGEMENT, LLC                   )  Magistrate Judge Jeffrey Cole
                                        )
                  Defendants,           )
and                                      )
                                        )
CALDERA INVESTMENT GROUP, INC. )
                                        )
                  Relief Defendant._____)

        FINAL JUDGMENT AS TO DEFENDANTS CALDERA ADVISORS, LLC
                AND BLUE HORIZON ASSET MANAGEMENT, LLC

       The Securities and Exchange Commission having filed a Complaint and Defendants

Caldera Advisors, LLC and Blue Horizon Asset Management, LLC (collectively, “Defendants”),

with the authorization, approval, and consent of their Court-appointed Receiver, having entered a

general appearance; consented to the Court’s jurisdiction over Defendants and the subject matter

of this action; consented to entry of this Final Judgment; waived findings of fact and conclusions

of law; and waived any right to appeal from this Final Judgment:

                                                I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendants are

permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the

Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5

promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of
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interstate commerce, or of the mails, or of any facility of any national securities exchange, in

connection with the purchase or sale of any security:

       (a)     to employ any device, scheme, or artifice to defraud;

       (b)     to make any untrue statement of a material fact or to omit to state a material fact

               necessary in order to make the statements made, in the light of the circumstances

               under which they were made, not misleading; or

       (c)     to engage in any act, practice, or course of business which operates or would

               operate as a fraud or deceit upon any person.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendants’

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendants or with anyone described in (a).

                                                 II.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendants are permanently restrained and enjoined from violating Section 17(a) of the

Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any

security by the use of any means or instruments of transportation or communication in interstate

commerce or by use of the mails, directly or indirectly:

       (a)     to employ any device, scheme, or artifice to defraud;

       (b)     to obtain money or property by means of any untrue statement of a material fact

               or any omission of a material fact necessary in order to make the statements
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               made, in light of the circumstances under which they were made, not misleading;

               or

       (c)     to engage in any transaction, practice, or course of business which operates or

               would operate as a fraud or deceit upon the purchaser.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendants’

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendants or with anyone described in (a).

                                                III.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendants are permanently restrained and enjoined from violating Section 206(1) and 206(2) of

the Investment Advisers Act of 1940 (the “Advisers Act”) [15 U.S.C. §§ 80b-6(1) and 80b-6(2)],

by making use of the mails or any means of instrumentality of interstate commerce, in

connection with the conduct of business as an investment adviser:

       (a)     to employ devices, schemes and artifice to defraud investment advisory clients

and prospective clients; or

       (b)     to engage in any transaction, practice or course of business which operates or

would operate as a fraud or deceit upon such clients and prospective clients.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendants’
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officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendants or with anyone described in (a).

                                                IV.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendants are permanently restrained and enjoined from violating Section 206(4) of the

Advisers Act [15 U.S.C. § 80(b)-6(4)] and Rule 206(4)-8 thereunder [17 C.F.R. § 275.206(4)-

8(a)(1)] by making untrue statements of material fact and omitting to state material facts

necessary in order to make the statements made, in the light of the circumstances under which

they were made, not misleading, to investors or prospective investors in pooled investment

vehicles under the management and control of Defendants.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendants’

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendants or with anyone described in (a).

                                                V.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent of

Defendants is incorporated herein with the same force and effect as if fully set forth herein, and

that Defendants shall comply with all of the undertakings and agreements set forth therein.

                                                VI.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the

allegations in the complaint are true and admitted by Defendants, and further, any debt for
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disgorgement, prejudgment interest, civil penalty or other amounts due by Defendants under this

Final Judgment or any other judgment, order, consent order, decree or settlement agreement

entered in connection with this proceeding, is a debt for the violation by Defendants of the

federal securities laws or any regulation or order issued under such laws, as set forth in Section

523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(19).

                                                VII.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.

                                               VIII.

       There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.

                                                IX.

       Upon oral motion of the Plaintiff, the claims against Relief Defendant Caldera

Investment Group, Inc. are hereby dismissed.




Dated: September 29, 2017

                                                       ___________________________________

                                                       UNITED STATES DISTRICT JUDGE
